256 F.2d 521
    David M. NICHOLS and Olive J. Nichols, Aurora Federal Savings &amp; Loan Association, and Pennick Corporation, Appellants,v.CITIES SERVICE OIL COMPANY, a Pennsylvania Corporation, Appellee.
    No. 7630.
    United States Court of Appeals Fourth Circuit.
    Argued June 4, 1958.
    Decided June 9, 1958.
    
      George E. Brown, Jr., Baltimore, Md., for appellants.
      Eli Frank, Jr., Baltimore, Md. (Frank, Bernstein, Gutberlet &amp; Conaway, Baltimore, Md., on brief), for appellee.
      Before SOBELOFF, Chief Judge, HAYNSWORTH, Circuit Judge, and MOORE, District Judge.
      PER CURIAM.
    
    
      1
      The plaintiffs, in the District Court, sought a declaratory judgment and specific performance of a lease agreement. They had not complied with a condition precedent to the obligation of the lessee, but the theory of the complaint is that performance of the condition within the time specified had been waived by the lessee; that the lessee, by its conduct, was estopped to assert non-performance, and, under the doctrine of election, had conclusively elected, after condition broken, to treat the agreement as a present and continuing obligation of the parties. Motion for summary judgment was granted for the defendants.
    
    
      2
      Application of the doctrines of waiver, estoppel, and election requires a precise appraisal of the knowledge and situation of the parties at the times they acted. If such details are sufficiently manifest before a full trial upon the merits, summary judgment may be appropriate; but the record here permits such a wide range of speculation as to the extent of the knowledge of the defendant at the crucial times, and as to other relevant matters, that resolution of the interesting legal questions raised appears dependent upon the liberality with which the pleadings are to be construed, and inferences drawn, in favor of the plaintiffs. The details necessary for a confident application of the legal principles are lacking here, and we are of the opinion that, in the interest of justice, determination of the issues should await the taking of testimony and the completion of a record.
    
    
      3
      Reversed and remanded for further proceedings.
    
    